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                                                                                              IL.     rj
                                UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS                                                " 16
                                         EL PASO DIVISION


UNITED STATES                                   §

                                                §


v.                                              §      CAUSE NO. EP-09-CR-3071-D13(l)

                                                §


MARTHA ALICIA GARNICA                           §



                                 ORDER AMENDING JUDGMENT


                                                                   under 18 U.S.C. § 3582(c)(2) and
           The Court considers this ease pursuant to its authority
                                                             782 to the Sentencing Guidelines,
Federal Rule of Criminal Procedure 43(b)(4). In Amendment
                                                              lowered the penalties for most drug
effective November 1, 2014, the U.S. Sentencing Commission
                                                     1.1 Drug Quantity Table by two levels. In
offenses by reducing most offense levels on the § 2D
                                                 U.S. Sentencing Commission decreed that
 Amendment 788 to the Sentencing Guidelines, the
                                                     the sentences of previously sentenced
 Amendment 782 may be applied retroactively to lower

 inmates provided that the effective date of the court's
                                                         order is November 1, 2015, or later. See,

 U.S.S.G. 1B1.10, amended 788.

                                                              current sentence   of 120 months as to
            The Court agrees a reduction from the Defendant's
                                                          Court having considered the guidelines, and
     Counts 1, 3,4 and 6 is appropriate in this case. The
                                                           policy statements, and 18 U.S.C. § 3553(a),
     pursuant to the Sentencing Reform Act, the guideline
                                                                   guideline and the reasons previously
     will reduce the Defendant's sentence. Based on the amended
                                                           judgment and commitment order in this case,
     set forth in the Statement of Reasons included in the
                                                             or time served, whichever is later, is
     the Court finds that an amended sentence of_____ months
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                                                             is sufficient, but not greater than
appropriate in this case. The Court finds that this sentence

necessary in light of the sentencing objectives in §3553(a)(2).


The Court hereby ORDERS as follows:

                                                                       time served, whichever is later;
        (1)        Defendant's sentence is reduced to Jmonths or
              ?.    4vzN/,4,L.                                             remain in effect.
        (2)        All other terms and provisions of the original judgment

                                                        Bureau of Prisons.
A copy of this agreed order shall be transmitted to the
       ORDERED on this the 26             dof                     , 2017.




                                                  DAVID B ONES
                                                  SENIOR UNITED STATES DISTRICT JUDGE
